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                             United States District Court
                                    EASTERN DISTRICT OF TEXAS
                                        SHERM AN DIVISION


 UNITED STATES OF AMERICA                          §
                                                   §
 vs.                                               §            Case No. 4:06cr228
                                                   §            (Judge Schell)
 DELEON DESHAWN KING (1)                           §

                            REPORT AND RECOMMENDATION
                         OF UNITED STATES MAGISTRATE JUDGE

        Pending before the Court is the request for revocation of Defendant’s supervised release.

 After the District Judge referred the matter to this Court for a report and recommendation, the Court

 conducted a hearing on September 16, 2009, to determine whether Defendant violated his supervised

 release. Defendant was represented by Denise Benson. The Government was represented by Ernest

 Gonzalez.

        On April 13, 2007, Defendant was sentenced to twenty-four (24) months and fifteen (15) days’

 custody followed by five (5) years of supervised release for the offense of conspiracy to manufacture

 or possess with intent to manufacture or distribute methamphetamine. On June 30, 2008, Defendant’s

 supervised release began.

        On March 6, 2009, the U.S. Pretrial Services Officer executed a Petition for Warrant for

 Offender Under Supervision. The petition asserted that Defendant violated the following mandatory

 conditions: (1) that he shall not unlawfully possess a controlled substance; and (2) that defendant

 shall refrain from any unlawful use of a controlled substance and submit to one drug test within

 fifteen days of release from imprisonment or placement on probation and at least two periodic drug

 tests thereafter, as directed by the probation officer. The petition also alleged the violations of the

 following standard conditions: (1) the defendant shall refrain from excessive use of alcohol and shall

 not purchase, possess, use, distribute, or administer any controlled substance, or any paraphernalia
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 related to any controlled substances, except as prescribed by a physician; (2) the defendant shall

 refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer

 any controlled substance, or any paraphernalia related to any controlled substances, except as

 prescribed by a physician; (3) the defendant shall report to the probation officer as directed by the

 Court or probation officer and shall submit a truthful and complete written report within the first five

 days of each month; (4) the defendant shall notify the probation officer ten days prior to any change

 in residence or employment; (5) the defendant shall notify the probation officer within seventy-two

 hours of being arrested or questioned by a law enforcement officer. The petition also alleges a

 violation of the following special condition: the defendant shall participate in a program of testing

 and treatment for alcohol and drug abuse, under the guidance and direction of the probation office

 until such time as the defendant is released from the program by the probation officer.

         The petition alleges that Defendant committed the following acts: (1) On December 2, 2008,

 defendant was arrested by the Denison Police Department for possession of marijuana; (2) defendant

 submitted urine specimens on July 14, 2008, August 28, 2008, and November 14, 2008, which tested

 positive for marijuana; (3) defendant failed to submit a written monthly report for the months of

 November 2008, December 2008 and January 2009; (4) defendant was terminated from his place of

 employment in December 2008 and failed to notify the probation office; (5) defendant changed his

 residence in December 2008 and failed to notify the probation office, and his whereabouts were

 unknown; (6) defendant failed to notify the probation officer within seventy-two hours of his arrest

 on December 2, 2008; and (7) defendant failed to report for substance abuse treatment on October

 14, 2008, and December 20, 2008, and failed to report for drug testing at the treatment center on

 October 9, 21, 24, 2008, November 4, 2008, December 30, 2008, January 22, 26, 2009, and February

 3, 2009.
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            Prior to the Government putting on its case, Defendant entered a plea of true to all of the

     violations. The Court recommends that Defendant’s supervised release be revoked.

                                        RECOMMENDATION

            The Court recommends that the District Judge revoke Defendant’s supervised release. The

     Court recommends that Defendant be committed to the custody of the Bureau of Prisons to be

     imprisoned for a term of nine (9) months with no supervised release to follow. It is also

     recommended that Defendant be housed in the Bureau of Prisons, Seagoville Unit.
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            After the Court announced the recommended sentence, Defendant executed the consent to

     revocation of supervised release and waiver of right to be present and speak at sentencing.

     Defendant and the Government also waived their right to file objections.

            SIGNED this 17th day of September, 2009.




                                           ___________________________________
                                           AMOS L. MAZZANT
                                           UNITED STATES MAGISTRATE JUDGE
